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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA

ALAN EUGENE MILLER             )
                               )
      Plaintiff,               )
                               )
v.                             ) Case No. 2:22-cv-00506-RAH
                               )
TERRY RAYBON, Warden, Holman )
Correctional Facility, et al., )
                               )
      Defendants.              )

                         NOTICE OF APPEARANCE

      COMES NOW the undersigned, Beth Jackson Hughes, and enters her

appearance as counsel for the Defendants in the above-styled cause.

                                            Respectfully submitted,

                                            Steve Marshall
                                            Attorney General


                                            s/ Beth Jackson Hughes
                                            Beth Jackson Hughes
                                            Assistant Attorney General
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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 15, 2022, I electronically filed the

foregoing with the Clerk of the Court using CM/ECF system. I also served a copy

upon counsel for the plaintiff via electronic mail, addressed as follows:

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